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5
     Counsel for Defendant
6    Jessie Rush

7
                                  UNITED STATES DISTRICT COURT
8
                                 NOTHERN DISTRICT OF CALIFORNIA
9
                                      SAN FRANCISCO DIVISION
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11
     UNITED STATES OF AMERICA,                                 Case No.: CR 21-0121 JD
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                    Plaintiff,
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                                                               STIPULATION AND [PROPOSED]
            vs.                                                ORDER TO CONTINUE CHANGE OF
14
                                                               PLEA HEARING
     JESSIE RUSH,
15
                    Defendant
16

17
            Defendant Jessie Rush, by and through counsel Adam Pennella, and the United States,
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     by and through counsel Eric Cheng, hereby stipulate and agree to continue Defendant’s Change
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     of Plea hearing to April 25, 2022 at 10:30 a.m. (which is the same date and time as the Change
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     of Plea hearing for co-defendant Simon Ybarra). The reason for the defense’s request is that Mr.
21
     Rush injured his right ankle and cannot drive safely. Mr. Rush lives in the Eastern District of
22
     California and therefore public transportation is not reasonably feasible. The government intends
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     to request that the Court set a joint sentencing hearing for all Defendants at a date and time
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     shortly after April 25, 2022, which will be separately proposed to the Court.
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     STIPULATION AND PROPOSED ORDER TO CONTINUE HEARING                                                1
              Case 3:21-cr-00121-JD Document 129 Filed 03/25/22 Page 2 of 2



1          SO STIPULATED:
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3    Dated: March 25, 2022
4                                                   _____________/s/_____________
                                                    Adam Pennella
5
                                                    Counsel for Jessie Rush
6

7

8
     Dated: March 25, 2022                          STEPHANIE HINDS
                                                    United States Attorney
9
                                                    _____________/s/_____________
10                                                  Eric Cheng
11
                                                    Assistant United States Attorneys

12
           SO ORDERED:
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14
     Dated: March 25, 2022                          ____________________________
15                                                  Honorable James Donato
                                                    United States District Court Judge
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     STIPULATION AND PROPOSED ORDER TO CONTINUE HEARING                                  2
